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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

CITY OF DALLAS;
CITY OF ABILENE;
CITY OF ALLEN;
CITY OF AMARILLO;
CITY OF ARLINGTON;                                    Case No.
CITY OF AUSTIN;
CITY OF BEAUMONT;                                     Removed from the District Court of Dallas
CITY OF CARROLLTON;                                   County, 14th Judicial District
CITY OF DENTON;
CITY OF FORT WORTH;                                   Jury Trial Demanded
CITY OF FRISCO;
CITY OF GARLAND;
CITY OF GRAND PRAIRIE;
CITY OF HOUSTON;
CITY OF IRVING;
CITY OF LEWISVILLE;
CITY OF McKINNEY;
CITY OF MESQUITE;
CITY OF NACOGDOCHES;
CITY OF PEARLAND;
CITY OF PLANO;
CITY OF ROWLETT;
CITY OF SUGAR LAND;
CITY OF TYLER; and
CITY OF WACO,

        Plaintiffs,

vs.

DISNEY DTC, LLC;
HULU, LLC; and
NETFLIX, INC.,

        Defendants.


                      DEFENDANT NETFLIX, INC.’S NOTICE OF REMOVAL

         Defendant Netflix, Inc. (“Netflix”) hereby removes the above-captioned action from the

District Court of Dallas County, 14th Judicial District, to the United States District Court for the
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 Northern District of Texas pursuant to 28 U.S.C. §§ 1332(a), 1441, and 1446.

I.     JURISDICTION

        1.     As set forth below, this Court has original subject matter jurisdiction over this

action under 28 U.S.C. § 1332(a) because: (1) there is complete diversity among the parties; and

(2) the amount placed in controversy by each plaintiff against each defendant exceeds $75,000,

exclusive of interest and costs. Removal is proper under 28 U.S.C. §§ 1441 and 1446. This

Notice of Removal is timely under 28 U.S.C. § 1446(b)(1) because Netflix accepted service of

Plaintiffs’ Original Petition (“Petition”) on August 19, 2022. See Netflix Tex. R. Civ. P. 11 Letter

(State Court Record Tab 12 [references to the state court record are labeled hereinafter

“Tab __”]), at 1; Disney/Hulu Tex. R. Civ. P. 11 Letter (Tab 13), at 1.

II.     BACKGROUND AND SUMMARY OF THE PETITION

        2.     On or about July 28, 2022, Plaintiffs commenced this action (the “Action”) by

filing their Petition seeking declaratory judgment and other relief against Netflix, Hulu, LLC

(“Hulu”), and Disney DTC, LLC (“Disney+,” and together with Netflix and Hulu, “Defendants”),

Case No. DC-22-09128, in the District Court of Dallas County, 14th Judicial District. A copy of

the Petition and the complete state court record is attached hereto.

        3.     In the Petition, Plaintiffs allege that pursuant to the Texas Public Utility

Regulatory Act (the “Act”), Tex. Util. Code §§ 66.001 et seq., Defendants have been, and are

now, “video service providers” that are subject to the Act but that have failed to comply with the

Act’s requirements. See Pet. (Tab 2), ¶¶ 47-77. Plaintiffs specifically allege that Defendants

have failed to apply for a franchise and to pay franchise fees as required by the Act. See id. ¶¶ 78-

85. Based on these allegations, Plaintiffs assert the following causes of action:




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                (1) Request for Declaratory Relief (see Pet. (Tab 2), at ¶¶ 86-87);

                (2) Request for Injunctive Relief (see id. at ¶¶ 88-91);

                (3) Request for An Accounting (see id. at ¶¶ 92-95);

                (4) Trespass (see id. at ¶¶ 96-101);

                (5) Unjust Enrichment and Monetary Relief (see id. at ¶¶ 102-105); and

                (6) Request for Attorney’s Fees (see id. at ¶ 106).

         4.     Plaintiffs seek monetary and compensatory damages, declaratory relief, injunctive

relief, and punitive damages. See Pet. (Tab 2), at ¶¶ 107-118. Plaintiffs also seek an order that

Defendants must provide “an accounting of all monies Defendants owe Plaintiffs.” Id. at ¶ 112.

         5.     Plaintiffs further request that the Court “hold a full trial on the merits, and, after

the trial,” grant a permanent injunction against Defendants (1) “requiring regular accountings,

timely remittance of franchise fees to Plaintiffs”; (2) enjoining and restraining Defendants from

“engaging in business within the boundaries of Plaintiffs and deriving gross revenues therefrom”

without obtaining state-issued franchise authorization; and (3) enjoining and restraining

Defendants from “further trespass upon Plaintiffs’ property.” See Pet. (Tab 2), at ¶¶ 115-116.

         6.     On August 19, 2022, Defendants accepted service of the Petition. See Netflix Tex.

R. Civ. P. 11 Letter (Tab 12), at 1; Disney/Hulu Tex. R. Civ. P. 11 Letter (Tab 13), at 1.

         7.     Defendants have not yet responded to the Petition in this Action.

III.     NO ADMISSION

         8.     For the sole and limited purpose of establishing the basis of this Court’s

jurisdiction over this action, Netflix assumes as true Plaintiffs’ allegations in the Petition, but

Netflix denies any liability in this case and also denies that Plaintiffs have a private right of action

to assert their claims. See City of New Boston v. Netflix, Inc., 565 F. Supp. 3d 865, 867-71 (E.D.



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Tex. 2021) (granting Netflix and Hulu’s motion to dismiss action seeking franchise fees under

the Act because municipality did not allege Netflix and Hulu were “holders” of state-issued

certificates of franchise authority and the Act granted exclusive power to the Texas Public Utility

Commission to require a company to obtain such certificates). In alleging the amount in

controversy and other matters in this removal pleading, Netflix does not concede any liability,

damages, or any other claims or defenses. Netflix is only stating what the stakes of litigation

could be under Plaintiffs’ allegations. A removing party’s “demonstration concerns what the

plaintiff is claiming (and thus the amount in controversy between the parties), not whether

plaintiff is likely to win or be awarded everything he seeks.” Berniard v. Dow Chem. Co., 481

F. Appx. 859, 862 (5th Cir. 2010).

IV.     THIS COURT IS THE PROPER VENUE

        9.     Venue is proper in this Court under 28 U.S.C. § 1441(a) because the removed

action was filed in the District Court of Dallas County, 14th Judicial District, a court within the

Northern District of Texas.

V.      THIS COURT HAS DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332(a)

        A.     There Is Complete Diversity Among The Parties

        10.    Plaintiffs are “lawfully existing home-rule Texas municipal corporation[s].” See

Pet. (Tab 2), ¶¶ 6-30; TEX. CONST. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq. For purposes of

diversity jurisdiction, cities are citizens of the state in which they are located. See Reeves v. City

of Jackson, 532 F.2d 491, 495 (5th Cir. 1976). Each Plaintiff is thus a citizen of Texas.

        11.    At the time of the filing of the Petition and at all times since, Netflix was and is a

corporation formed under the laws of the State of Delaware with its principal place of business

located in California. Netflix is a citizen of Delaware and California for purposes of determining

diversity jurisdiction. See 28 U.S.C. § 1332(c)(1) (for purposes of section 1332, “a corporation

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shall be deemed to be a citizen of every State and foreign state by which it has been incorporated

and of the State or foreign state where it has its principal place of business”). Netflix is not a

citizen of Texas for purposes of diversity jurisdiction.

       12.     At the time of the filing of the Petition and at all times since, Disney DTC, LLC,

was and is a limited liability company formed under the laws of the State of Delaware with its

principal place of business in California. Its sole member is Disney Streaming Services LLC, a

Delaware limited liability company with its principal place of business in California. Disney

Streaming Services LLC’s sole member is Disney Enterprises, Inc., a Delaware corporation with

a principal place of business in California. Disney DTC, LLC is a citizen of Delaware and

California for purposes of determining diversity jurisdiction. See MidCap Media Fin., L.L.C. v.

Pathway Data, Inc., 929 F.3d 310, 314 (5th Cir. 2019) (for diversity jurisdiction, a limited liability

company is a citizen of any state in which a member of the company is a citizen); 28 U.S.C.

§ 1332(c)(1). Disney DTC, LLC is not a citizen of Texas for purposes of diversity jurisdiction.

       13.     Hulu, LLC is a limited liability company formed under the laws of the State of

Delaware with its principal place of business in California. It has three members. One member is

TFCF-Hulu Holdings, Inc., a corporation organized under the laws of Delaware with its principal

place of business in California. TFCF-Hulu Holdings, Inc. is thus a citizen of Delaware and

California for purposes of determining diversity jurisdiction. Hulu, LLC’s second member is ABC

Enterprises Acquisition, LLC, a limited liability company whose sole member is a corporation that

is a citizen of Delaware and California. Hulu, LLC’s third member is NBCU New Site Holdings,

LLC, a limited liability company whose members are citizens of Delaware and Pennsylvania.

Hulu, LLC is a citizen of Delaware, California, and Pennsylvania for purposes of determining




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diversity jurisdiction. MidCap Media Fin., L.L.C., 929 F.3d at 314; 28 U.S.C. § 1332(c)(1). Hulu,

LLC is not a citizen of Texas for purposes of diversity jurisdiction.

       14.     Because Plaintiffs are all citizens of Texas and no Defendant is a citizen of Texas,

complete diversity is satisfied. See 28 U.S.C. § 1332(a).

       B.      The Amount In Controversy Between Each Plaintiff And Each Defendant
               Exceeds $75,000

       15.     As there is complete diversity among the parties, this Court has original jurisdiction

as long as the amount in controversy exceeds $75,000, exclusive of interest and costs. 28 U.S.C.

§ 1332(a).

       16.     Where a defendant removes a civil action to federal court and its notice of removal

includes a good faith, plausible allegation that the amount in controversy exceeds the jurisdictional

threshold, the “allegation should be accepted when not contested by the plaintiff or questioned by

the court.” Burch v. JPMorgan Chase Bank, N.A., 821 Fed. Appx. 390, 391 (5th Cir. 2020); see

also Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 87-88 (2014).

       17.     The amount placed in controversy by each Plaintiff against each Defendant exceeds

$75,000, exclusive of interest and costs.

       18.     Plaintiffs seek an order of “an accounting of all monies that Defendants owe

Plaintiffs, including compounded interest” and a “grant [of] a permanent injunction against

Defendants requiring regular accountings, timely remittance of franchise fees to Plaintiffs, and

enjoining and restraining Defendants from engaging in business within the boundaries of Plaintiffs

and deriving gross revenues therefrom without obtaining the required state-issued certificate of

franchise authority and without paying the required franchise fees.” Pet. (Tab 2), at ¶¶ 112, 115.

Plaintiffs further seek an award of “money damages for the amounts that Defendants have been

unjustly enriched at Plaintiffs’ expense, including compounded interest (pre-judgment and post-


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judgment) and penalties.” Id. at ¶ 113. The value of each part of this remedy must be included in

calculating the amount in controversy. See Leininger v. Leininger, 705 F.2d 727, 729 (5th Cir.

1983) (“[T]he amount in controversy, in an action for declaratory or injunctive relief, is the value

of the right to be protected or the extent of the injury to be prevented.”); St. Paul Reinsurance Co.

v. Greenberg, 134 F.3d 1250, 1255 (5th Cir. 1998) (Texas statutory penalties considered when

analyzing amount in controversy requirement); Cox v. Liberty Mut. & Credit Collection Servs.,

No. 3:10-CV-1956-M, 2011 WL 98374, at *2 n.18 (N.D. Tex. Jan. 12, 2011) (same).

        19.     Plaintiffs also seek injunctive relief, which is properly included in the amount-in-

controversy calculation. See Leininger, 705 F.2d at 729. Here, Plaintiffs seek injunctive relief (1)

requiring Defendants to conduct “regular accountings, timely remittance of franchise fees to

Plaintiffs, and enjoining and restraining Defendants from engaging in business within the

boundaries of Plaintiffs and deriving gross revenues therefrom without obtaining the required

state-issued certificate of franchise authority and without paying the required franchise fees” and

(2) enjoining and restraining Defendants from “further trespass upon Plaintiffs’ property” under

the Act, thereby depriving Netflix of fees from customers with billing zip codes associated with

the jurisdictions of Plaintiffs. Pet. (Tab 2), at ¶ 115–16. Therefore, based on Plaintiffs’ allegations,

the claims for injunctive relief place in controversy either: (1) 5% of revenues (as claimed by

Plaintiffs under the Act) in Plaintiffs’ jurisdictions going forward (if the franchise fees must be

paid to Plaintiffs); or (2) all fees collected in Plaintiffs’ jurisdictions (if Netflix is barred from

making its content available to customers with billing zip codes encompassing Plaintiffs’

jurisdictions). See Duderwicz v. Sweetwater Sav. Ass’n, 595 F.2d 1008, 1014 (5th Cir. 1979)

(“[T]he value of the matter in controversy is measured not by the monetary judgment which the




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plaintiff may recover, but by the judgment’s pecuniary consequence to those involved in the

litigation.”).

        20.      Netflix understands that each Plaintiff intends to seek franchise fees as a percentage

of Netflix’s revenues from its customers with billing zip codes associated with that Plaintiff. Based

on a review of Netflix’s corporate records, Netflix has received over $1.5 million in fees from

customers with billing zip codes associated with the jurisdiction of each Plaintiff in the four years

prior to the filing of the Petition. See Tex. Util. Code § 66.005(b) (allowing municipalities to

review business records to ensure accurate franchise fee compensation for the 48-month period

preceding the date of the last franchise fee payment). Plaintiffs collect a 5% tax on video service

providers. See id. § 66.005(a). Because 5% of more than $1.5 million is more than $75,000, each

Plaintiff is seeking at least $75,000 in back franchise fees alone from Netflix. This amount, in

conjunction with the claims for injunctive relief going forward in perpetuity that were placed in

controversy by each Plaintiff, more than exceeds the $75,000 amount in controversy requirement.

        21.      The amount placed in controversy by each Plaintiff against Hulu and Disney+

exceeds $75,000, exclusive of interest and costs, as well. Based on a review of its corporate

records, Hulu has received over $1.5 million in fees from customers with billing zip codes

associated with the jurisdiction of each Plaintiff in the four years prior to the filing of the Petition.

See Tex. Util. Code § 66.005(b) (allowing municipalities to review business records to ensure

accurate franchise fee compensation for the 48-month period preceding the date of the last

franchise fee payment). Because 5% of more than $1.5 million is more than $75,000, each Plaintiff

is seeking at least $75,000 in back franchise fees alone from Hulu. This amount, in conjunction

with the claims for injunctive relief going forward in perpetuity that were placed in controversy

by each Plaintiff, more than exceeds the $75,000 amount in controversy requirement.



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        22.     Disney+ has also received over $1.5 million in fees from customers with billing zip

codes associated with the jurisdiction of each Plaintiff, except with respect to the City of

Beaumont, City of Mesquite, City of Nacogdoches, City of Rowlett, and City of Tyler, in the four

years prior to the filing of the Petition. These five cities, however, also seek significant penalties

for Defendants’ alleged “failure to comply with the applicable statutes, codes, and provisions of

law since the provision of video service began and for the duration of this litigation.” Pet. (Tab

2), at ¶ 105. For example, the City of Rowlett imposes penalties of $100 per day for non-

compliance. See Code of Ordinances City of Rowlett, Texas, App. B, Art. I, Sec. 23.03(I)

(assessing penalties at $100 per day). If the City of Rowlett fined Disney+ $100 per day for the

past 48 months, that would amount to $146,000 in penalties against Disney+ alone. The City of

Allen threatens penalties of $2,000 per day. See Code of Ordinances City of Allen, Texas, App.

A, Art. II, Sec. 4(c) (assessing penalties at $2,000 per day). Thus, combining damages sought,

penalties, as well as the value of the prospective injunctive relief, the amount in controversy by

each Plaintiff against Disney+ exceeds the $75,000 amount in controversy.

        23.     Removal of this action is proper under 28 U.S.C. § 1441 because the requirements

for general diversity jurisdiction under § 1332(a) are satisfied for each Defendant.

        24.     Even if the Petition did not put at issue at least $75,000 in back and prospective

franchise fees for each Plaintiff against each Defendant (which it does), when there are multiple

plaintiffs in an action, as there are here, federal subject matter jurisdiction exists over all plaintiffs’

claims arising from the same case or controversy if just one plaintiff meets the jurisdictional

amount. See Mitchell v. Bailey, 982 F.3d 937, 943 (5th Cir. 2020); 28 U.S.C. § 1367.




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         25.      Claims are part of the same case or controversy when they are so related to the

original claim that they derive from a common nucleus of operative fact. Venable v. Louisiana

Workers’ Compensation Corp., 740 F.3d 937, 944 (5th Cir. 2013).

         26.      Here, each Plaintiff alleges that, inter alia, Defendants “are using Plaintiffs’

municipal public rights-of-way” and are required “to abide by [the Act] and to pay the franchise

fees owed to Plaintiffs.” Pet. (Tab 2), at ¶¶ 5, 85. To the extent a particular Plaintiff has failed to

place $75,000 in controversy with a particular Defendant, there is thus a “common nucleus of

operative fact” between the claims of remaining Plaintiffs on these issues, and the Court can

exercise supplemental jurisdiction over them.

VI.      NETFLIX HAS COMPLIED WITH ALL THE PREREQUISITES FOR REMOVAL

         27.      This Notice of Removal is timely because it was filed within 30 days of

Defendants accepting service. 28 U.S.C. § 1446(b). Defendants accepted service on August 19,

2022. See Netflix Tex. R. Civ. P. 11 Letter (Tab 12), at 1; Disney/Hulu Tex. R. Civ. P. 11 Letter

(Tab 13), at 1.

         28.      Netflix has conferred with each other Defendant and each other Defendant has

consented to the removal of this action, and they will separately file a consent with this Court.

         29.      Pursuant to 28 U.S.C. § 1446(a), attached hereto are true and correct copies of the

Petition and all process, pleadings, orders, and other documents on file in the state court. See

Tabs 1-15. Netflix has not filed an answer or other response to the Petition in the District Court

of Dallas County, 14th Judicial District prior to removal and is not aware of any currently pending

motions in that court.

         30.      Pursuant to 28 U.S.C. § 1446(d), promptly upon filing of this Notice of Removal,

copies hereof will be sent to Plaintiffs’ counsel and filed with the Clerk of the Court in the state



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court action. Netflix will also file proof of filing this Notice of Removal with the Clerk of the

Court in the state court action and proof of service on all adverse parties.

       31.     Netflix reserves the right to amend or supplement this Notice of Removal, and

reserves all rights and defenses, including those available under Federal Rule of Civil Procedure

Rule 12. In the event Plaintiffs file a motion to remand, or the Court considers remand sua sponte,

Netflix respectfully requests the opportunity to submit additional argument and/or evidence in

support of removal.

       WHEREFORE, Netflix removes this case from the District Court of Dallas County, 14th

Judicial District, to the United States District Court for the Northern District of Texas.



Date: September 16, 2022                       Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that on September 16, 2022, a copy of the foregoing

document was filed with the Clerk of the Court using the CM/ECF system, and was served by U.S.

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       The undersigned hereby also certifies that on September 16, 2022, a copy of the foregoing

document was filed with the Clerk of the Court using the CM/ECF system, and was served upon

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